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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

RICHARD DOUGHTIE, III, United
States Bankruptcy Trustee for
VINCENT O’NEIL BROOKS,

 

Plaintiff,
v. No. 03-2073 Ml/A

ASHLAND, INC. d/b/a VALVOLINE
INSTANT 011. cHANGE,

Defendant.

 

ORDER DENYING DEFENDANT'S MOTION TO DISMISS, OR, ALTERNATIVELY,
FOR SUMMARY JUDGMENT BASED UPON JUDICIAL ESTOPPEL

 

Before the Court is the Motion to Dismiss or, Alternatively,
for Summary Judgment of Defendant Ashland, Inc. d/b/a Valvoline
Instant Oil Change, filed September 8, 2003. Former plaintiff
Vincent Brooks originally responded on October 21, 2003.
Defendant filed a reply to that response on October 27, 2003.

On March 4, 2004, the Court denied Defendant's motion
without prejudice because this matter was stayed automatically
after Mr. Brooks filed bankruptcy; the Court’s order provided
that Defendant's motion would be reinstated once the stay was
lifted. (Order Regarding Automatic Stay and Order Denying Motion
to Dismiss, March 4, 2004 (Docket No. 32).) On October 27, 2004,
the Court ordered that this case be reinstated. On November 30,

2004, the Court held a scheduling conference and issued an order

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setting a schedule for the parties to update their dispositive
motion filings. Pursuant to the Court’s November 30, 2004,
order, Richard Doughtie, III, United States Bankruptcy Trustee
for Mr. Brooks, filed a motion to amend the Complaint to
substitute himself as Plaintiff on December 7, 2004, which the
Court granted on March 15, 2005. Also on December 7, 2004, Mr.
Doughtie, III, filed an amended response to Defendant's motion,
for which the Court hereby GRANTS leave to file. On December 17,
2004, Defendant filed a reply to Plaintiff's amended response,
for which the Court granted Defendant leave to file on December
2l, 2004. For the following reasons, Defendant's motion is
DENIED.
I. BACKGROUND

The instant case arises out of the termination of Vincent
Brooks's employment by Defendant Ashland, Inc., d/b/a Valvoline
Instant Oil Change on October 21, 2002. On February 3, 2003, Mr.
Brooks filed a complaint against Defendant in this Court
asserting claims under Title VII of the Civil Rights Act, 42
U.S.C. § 2000e et seg.,r the Americans With Disabilities Act, 42
U.S.C. § 12101 et seq., and the Family and Medical Leave Act, 29
U.S.C. § 2601 et seq. An Amended Complaint was filed on August
l, 2003, asserting claims under these same statutes.

On March 3, 2003, Mr. Brooks filed a Chapter 7 Bankruptcy

Petition. (Case No. 03-24095, U.S. Bankruptcy Court, Western

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District of Tennessee.) lt is undisputed that Mr. Brooks did not
originally disclose this lawsuit in the filings related to his
bankruptcy case, as he was required to do under the Bankruptcy
Code.1 On June 20,r 2003, the Bankruptcy Court entered an order
discharging Mr. Brooks’s debts. (Discharge of Debtor, Case No.
03-24095, U.S. Bankruptcy Court, Western District of Tennessee,
June 20, 2003 (Docket No. 7).) On November 3, 2003, Mr. Brooks
filed a motion with the Bankruptcy Court to reopen his bankruptcy
case and to amend his filings to include this lawsuit as an asset
of the bankruptcy estate. The Bankruptcy Court granted that
motion on November 24, 2003. (Order Granting Debtor's Motion To
Reopen Case To Amend Petition And Schedules, Case No. 03-24095,
U.S. Bankruptcy Court, Western District of Tennessee, November
24, 2003 (Docket No. 13).)

Mr. Brooks was represented by an attorney in his bankruptcy
case, with whom he consulted about his bankruptcy filings on
March 3, 2003. Mr. Brooks contends that he informed his

bankruptcy attorney of his claims against Defendant, but that the

 

lSpecifically, on his “Statement of Financial Affairs” form,
Mr. Brooks marked “none” in response to the following guestion,
in relevant part:
4a. Suits and administrative proceedings, executions,
garnishments and attachments
List all suits and administrative proceedings,
garnishments and attachments to which the debtor
is or was a party within one year immediately
preceding the filing of this case....
(Def.'s Mem. of Facts and Law in Supp. of Def.'s Mot. to Dismiss,
or in the Alt. for Summ. J., p. 5.)

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attorney did not include those claims in his original bankruptcy
filings.

A sworn affidavit filed by Mr. Brooks2 indicates that he
informed his attorney during their March 3, 2003, meeting, that
he “had filed a complaint with the EEOC, alleging wrongful
termination due to discrimination,” (Pl.’s Resp. to Def.’s Mot.
to Dismiss or, Alternatively, Mot. for Summ. J., EX. l, l 3), and
that he “had secured the services of another attorney to handle
the matter of [his] wrongful termination.” (Id., l 4.) Mr.
Brooks also contends that “[a]t no time on March 3 did my
bankruptcy attorney ask me if l was involved as a party in any
pending lawsuit or administrative proceeding” (Id., IB), but that
he only asked “if l had ever been involved in a lawsuit that had
‘gone to court.’” (Id., i 9.) According to Mr. Brooks, “I told
[the bankruptcy attorney] that l had been a party to a lawsuit
that had ‘gone to court' in 1987. I understood the phrase ‘gone
to court’ to mean a lawsuit that had resulted in a trial.” (ld.)

On March 10, 2003, Mr. Brooks returned to his bankruptcy

 

2On October 27, 2003, Defendant moved to strike this
affidavit because it purportedly included statements that
contradicted deposition testimony given by Mr. Brooks. (Def.'s
Reply to Pl.’s Resp. to Def.'s Mot. to Dismiss or Alternatively
Mot. for Summ. J. and Mem. in Supp. of Mot. to Strike, October
2?, 2003 (Docket No. 24).) On December 30, 2003, the Court
denied that motion because it was not clear from the portions of
the deposition testimony cited by Defendant in its October 27,
2003, motion that Mr. Brooks included statements in his affidavit
that contradicted his deposition testimony.(Order, December 30,
2003 (Docket No. 29.)

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attorney’s office to sign the relevant papers regarding his
bankruptcy petition. (ld., l 8.} Mr. Brooks contends that “[a]t
no time during the completion and subsequent initialing of
Schedule B did the attorney ask me about any contingent lawsuit
to which l was a party, (ld., l ll.), and that “[a]t no time did
the attorney specifically ask me, pursuant to question 4a in the
Statement of Financial affairs, if I had been a party to a suit
or administrative proceeding within the last year.” (ld., I 14.)
II. STANDARD OF REVIEW

A defendant may move to dismiss a claim “for failure to
state a claim upon which relief can be granted” under Federal
Rule of Civil Procedure 12(b)(6). When considering a Rule
l2(b)(6) motion,r a court must treat all of the well-pleaded
allegations of the complaint as true. Saylor v. Parker Seal Co.,
975 F.2d 252, 254 (6th Cir. 1992). Furthermore, the court must
construe all of the allegations in the light most favorable to
the non-moving party. Scheuer v. Rhodes, 416 U.S. 232, 236
(1974). “A court may dismiss a [claim under l2(b)(6)] only if it
is clear that no relief could be granted under any set of facts
that could be proved consistent with the allegations.” Hishon v.
King & Spalding, 467 U.S. 69, 73 (1984). When a party relies on
matters outside of the pleadings, a motion to dismiss must be

treated as one for summary judgment. See Fed. R. Civ. P. l2(b).

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Under Federal Rule of Civil Procedure 56(c), summary
judgment is proper “if the pleadings, depositions,r answers to
interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to judgment
as a matter of law.” Fed. R. Civ. P. 56(c); see also Celotex
Corp. v. Catrett, 477 U.S. 317, 322 (1986). So long as the
movant has met its initial burden of “demonstrat[ing] the absence
of a genuine issue of material fact,” Celotex, 477 U.S. at 323,
and the nonmoving party is unable to make such a showing, summary
judgment is appropriate, Emmons v. McLaughlin, 874 F.2d 351, 353
(6th Cir. 1989). In considering a motion for summary judgment,
“the evidence as well as all inferences drawn therefrom must be
read in a light most favorable to the party opposing the motion.”
Kochins v. Linden-Alimak, Inc., 799 F.Zd 1128, 1133 (6th Cir.
1986); see also Matsushita Elec. Indus. Co. v. Zenith Radio
Qgrp;, 475 U.S. 574, 587 (1986).

When confronted with a properly-supported motion for summary
judgment,r the nonmoving party “must set forth specific facts
showing that there is a genuine issue for trial.” Fed. R. Civ.
P. 56(e); see also Abeita v. TransAmerica Mailings, Inc., 159
F.3d 246, 250 (6th Cir. 1998). A genuine issue of material fact
exists for trial “if the evidence [presented by the nonmoving

party] is such that a reasonable jury could return a verdict for

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the nonmoving party.” Anderson v, Liberty Lobbv. Inc., 477 U.S.
242, 248 (1986). ln essence, the inquiry is “whether the
evidence presents a sufficient disagreement to require submission
to a jury or whether it is so one-sided that one party must
prevail as a matter of law.” ld; at 251-52.

III. ANALYSIS

Defendant moves to dismiss or, in the alternative, for
summary judgment regarding Plaintiff’s claims on the basis of
judicial estoppel because Mr. Brooks failed to disclose his
claims against Defendant in his original bankruptcy filings.3
Plaintiff contends that judicial estoppel is not appropriate
because the non-disclosure was inadvertent and the bankruptcy
filings have since been updated to include the claims against
Defendant.

Judicial estoppel is an equitable defense, gaynglds_yL
C.l.R., 861 F.Zd 469,r 472 (6th Cir. 1988)(characterizing judicial
estoppel as an equitable defense), and therefore its
applicability is determined by the Court as a matter of law. §§e
Browning v. Levy, 283 F.3d 761, 775 (6th Cir. 2002) (finding that

a district court's application of judicial estoppel is reviewed

 

3In its September 8, 2003, motion, Defendant also contended
that Mr. Brooks lacks standing to bring this suit, since the suit
is an asset of the bankruptcy estate and therefore the Bankruptcy
Trustee is the proper plaintiff. However, since the filing of
that motion, Mr. Doughtie, III, the Bankruptcy Trustee, has been
substituted as Plaintiff in this action. Accordingly,
Defendant’s contention that Plaintiff lacks standing is moot.

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de novo)(citing Smith v. Fireman’s Fund lns. Co., 16 F.3d 1221,
No. 92-6540, 1994 WL 6043, *3 (6th Cir. Jan. 7, 1994)(finding
judicial estoppel to be an issue of law)). Accordingly, the
Court will determine based upon the record before it whether
judicial estoppel should apply in this case.

“The doctrine of judicial estoppel bars a party from
asserting a position that is contrary to one the party has
asserted under oath in a prior proceeding, where the prior court
adopted the contrary position ‘either as a preliminary matter or
as part of a final disposition.'” Eubanks v. CBSK Financial
Groupl lnc., 385 F.3d 894, 897 (6th Cir. 2004)(citing Teledyne
lndus., lnc. v. NLRB, 911 F.2d 1214, 1218 (6th Cir. 1990)).4
“Judicial estoppel is utilized in order to preserve ‘the
integrity of the courts by preventing a party from abusing the
judicial process through cynical gamesmanship.'” Browning, 283
F.3d at 775-76 (citing Teled ne, 911 F.Zd at 1218). Judicial
estoppel, however, should be applied with caution to “avoid
impinging on the truth-seeking function of the court, because the
doctrine precludes a contradictory position without examining the
truth of either statement.” Eubanks, 385 F.3d 894, 897 (6th Cir.

2004)(quoting Teledyne, 911 F.2d at 1218).

 

4Here, it is undisputed that the Bankruptcy Court adopted
the position that Mr. Brooks did not have any outstanding legal
claims when it discharged his debts on June 20, 2003.

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Plaintiff contends that judicial estoppel should not apply
in this case because Mr. Brooks inadvertently omitted his claims
against Defendant from his initial bankruptcy filing. The Sixth
Circuit has noted that “judicial estoppel is inappropriate in
cases of conduct amounting to nothing more than mistake or
inadvertence.” Browning, 283 F.3d at 776; see also Eubanks, 385
F.3d at 898 (finding evidence of inadvertent omission of claim in
previous bankruptcy proceeding an appropriate factor to consider
when analyzing applicability of judicial estoppel). Whether or
not a debtor had a motive for concealment is relevant to the
analysis of whether an omission was inadvertent. §§§ Eubanks,
385 F.3d at 898 (noting that a debtor's omission might be
inadvertent when “the debtor has no motive for concealment”); see
alsg Browning, 283 F.3d at 776 (finding lack of motive for
concealment led to conclusion that concealment was inadvertent
and therefore judicial estoppel was inappropriate).

The record before the Court reveals that the failure to
include Mr. Brooks’s claims against Defendant in his bankruptcy
filings was inadvertent. Mr. Brooks's affidavit establishes that
he informed his attorney about his claims against Defendant, but
that those claims were not included in his original bankruptcy

filings.5 Moreover, the Court finds that the statements that Mr.

 

5 Defendant points to no evidence in the record to
contradict Mr. Brooks’s assertion that he informed his bankruptcy
attorney of his claims against Defendant. Although Defendant

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Brooks made to his bankruptcy attorney, as reflected in his
affidavit, establish that he was not motivated by a desire to
conceal his claims against Defendant from the bankruptcy court.
Accordingly, judicial estoppel is not appropriate in this case.

Defendant also contends that any recovery by the Plaintiff
in this case should be limited to the total of Mr. Brooks's
unsecured claims, and that the Court should void the reopening of
Mr. Brooks’s bankruptcy case. However, the Court has found that
judicial estoppel does not bar Plaintiff’s claim because the
omission of the claim against Defendant from the original
bankruptcy filings was inadvertent. Accordingly, no limitation
on a recovery is appropriate and the reopening of the bankruptcy
case will not be voided.

Alternatively, Plaintiff contends that he cannot be
judicially estopped from pursuing Mr. Brooks's claim on behalf of
creditors of the estate because he has not made false or
inconsistent statements regarding Mr. Brooks’s claims against
Defendant. In Parker v. Wendv’s Intern.. lnc., 365 F.3d 1268
{11th Cir. 2004), the U.S. Court of Appeals for the Eleventh
Circuit found that judicial estoppel was not appropriate where a

debtor had previously taken inconsistent positions before the

 

claims that this assertion contradicts deposition testimony given
by Mr. Brooks, the Court has previously found that contention
unpersuasive. See Order, December 30, 2003 (Docket No. 29),

supra, n.5.
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court but the bankruptcy trustee had not. The Court finds the

reasoning in Parker persuasive and adopts its holding here as
alternative basis to decline to exercise judicial estoppel in
this case. §§e Parker, 365 F.3d at 1271-72. Here, the Court
found that the non-disclosure of this suit in the bankruptcy
filings was inadvertent. Accordingly, the Bankruptcy Trustee
not judicially estopped from bringing the instant claims.
IV. CONCLUSION

For the foregoing reasons, Defendant’s motion to dismiss

in the alternative, for summary judgment is DENIED.

So ORDERED this llth day of May, 2005.

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ED STATES DISTRICT JUDGE

 

  

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Honorable J on McCalla
US DISTRICT COURT

